                                                           UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF CALIFORNIA

 Name of Debtor:             Salvador Navar                                                              Case No. 18-51745

Last four digits of Soc. Sec. No.: 8108
Last four digits of Soc. Sec. No.:

                                                                   CHAPTER 13 PLAN AMENDED

                                                                          Section 1. Notices

1.01.       Notices.

            (a)         Use of this form is mandatory. The Bankruptcy Court of the Northern District of California requires the use of this
                        local form chapter 13 plan in lieu of any national form plan. Fed. R. Bankr. P. 3015.1.

            (b)         Notice of specific plan provisions required by Fed.R.Bankr.P. 3015.1(c). Any nonstandard provision is in section
                        7 below.

                        If the plan proposes to limit the amount of a secured claim based on a valuation of the collateral for the claim, this
                        box must be checked .

                        If the plan proposes to avoid a security interest or lien, this box must be checked   .

                        If there are nonstandard provisions, this box must be checked . A nonstandard provision will be given no effect
                        unless this section indicates one is included in section 7 and it appears in section 7.

1.02.       No alterations to form plan permitted. Other than to insert text into designated spaces, to expand tables to include
            additional items, or to change the plan title to indicate the date of the plan or that it is a modified plan, the preprinted text of
            this form shall not be altered. No such alteration will be given any effect.

1.03.       Valuation of collateral and lien avoidance. Unless otherwise provided in Section 7 below, as to nongovernmental units, the
            confirmation of this plan will not limit the amount of a secured claim based on a valuation of the collateral for the claim, nor
            will it avoid a security interest or lien. This relief requires a separate claim objection, valuation motion or adversary
            proceeding, or lien avoidance motion, with supporting evidence, that is successfully prosecuted in connection with the
            confirmation of this plan. Determining the amount of secured and priority claims of governmental units, however, must be
            done in compliance with Fed.R.Bankr.P. 3012.

1.04.       Confirmation of Plan. In the absence of a timely written objection, the plan may be confirmed without a hearing. It will be
            effective upon its confirmation.

                                                            Section 2. Plan Payments and Plan Duration

2.01.       Monthly plan payments. To complete this plan, Debtor shall submit to the supervision and control of Trustee on a monthly
            basis the sum of $ 1,024.00 for 12 months, then $1,265 for 12 months, then $1,395 for 12 months, then $1,455 for 12
            months, then $1,555 for months from future earnings. This monthly plan payment is subject to adjustment pursuant to
            section 3.07(b)(5) below and it must be received by Trustee not later than the 20th day of each month beginning the month
            after the order for relief under chapter 13. The monthly plan payment includes all adequate protection payments due on Class
            2 secured claims.

2.02.       Other payments. In addition to the submission of future earnings, Debtor will make payment(s) derived from property of the
            bankruptcy estate, property of Debtor, or from other sources, as follows:


2.03.       Duration of payments. The monthly plan payments will continue for 60 months unless all allowed unsecured claims
            are paid in full within a shorter period of time. If necessary to complete the plan, monthly payments may continue for an
            additional 6 months, but in no event may a plan be proposed and confirmed that exceeds 60 months. This section is to be read
            in conjunction with section 3.14.
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                                                                      Section 3. Claims and Expenses

A. Proofs of Claim

3.01.       With the exception of the payments required by sections 3.03, 3.07(b), 3.08(b), 3.10, and 4.01, a claim will not be paid
            pursuant to this plan unless a proof of claim is filed by or on behalf of a creditor, including a secured creditor.

3.02.       The proof of claim, not this plan or the schedules, shall determine the amount and classification of a claim unless the court’s
            disposition of a claim objection, valuation motion, adversary proceeding, confirmed plan, or lien avoidance motion affects
            the amount or classification of the claim, consistent with section 1.03.

3.03.       Post-petition amounts due on account of a domestic support obligation, a loan from retirement or thrift savings plan, or an
            executory contract/unexpired lease being assumed, shall be paid by Debtor directly to the person entitled to such payments
            whether or not the plan is confirmed or a proof of claim has been filed.

B. Administrative Expenses

3.04.       Trustee’s fees. Pursuant to 28 U.S.C. § 586(e), Trustee shall retain up to 10% of plan payments, whether made before or
            after confirmation, but excluding direct payments by Debtor provided for by the plan.

3.05.       Debtor’s attorney’s fees. Debtor’s attorney was paid $ 57.00 prior to the filing of the case. Additional fees of
            $ 4,593.00 shall be paid through this plan upon court approval. Debtor’s attorney will seek the court’s approval by
            [choose one]: complying with General Order 35; or filing and serving a motion in accordance with 11 U.S.C. §§ 329
            and 330, Fed. R. Bankr. P. 2002, 2016, and 2017 [if neither alternative is selected, the attorney shall comply with the latter].

3.06.       Administrative expenses. In accordance with sections 5.02 and 5.03 below, $ 210.45 of each monthly plan payment
            shall be paid on account of: (a) compensation due a former chapter 7 trustee; (b) approved administrative expenses; and (c)
            approved attorney’s fees. Approved administrative expenses shall be paid in full through this plan except to the extent a
            claimant agrees otherwise or 11 U.S.C. § 1326(b)(3)(B) is applicable.

C. Secured Claims

3.07.  Class 1 includes all delinquent secured claims that mature after the completion of this plan, including those secured
by Debtor’s principal residence.

            (a) Cure of defaults. All arrears on Class 1 claims shall be paid in full by Trustee. The monthly installments specified in the
            table below as the “monthly arrearage dividend,” in conjunction with the distribution scheme in section 5 of this plan, shall
            pay the arrears in full.

                        (1) Unless otherwise specified below, interest will accrue at the rate of 0%.

                        (2) The arrearage dividend must be applied by the Class 1 creditor to the arrears. If this plan provides for interest on
                        the arrears, the arrearage dividend shall be applied first to such interest, then to the arrears.

            (b) Maintaining payments. From plan payments received, Trustee shall make all post-petition monthly payments to the
            holder of each Class 1 claim whether or not this plan is confirmed or a proof of claim is filed.

                        (1) Unless sub-part (b)(1)(A)or(B) of this section is applicable, the amount of the post-petition monthly payment
                        shall be the amount specified in the plan.

                                     (A) If the amount specified in the plan is incorrect, the Class 1 creditor may demand the correct amount in
                                     its proof of claim. Unless and until an objection to such proof of claim is sustained, the trustee shall pay the
                                     payment amount demanded in the proof of claim.

                                     (B) Whenever the post-petition monthly payment amount is adjusted in accordance with the underlying
                                     loan documentation, including changes resulting from an interest rate or escrow account adjustment, the
                                     Class 1 creditor shall give notice of payment change pursuant to Fed. R. Bankr. P. 3002.1(b). Notice of the

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                                     change in a proof of claim is not sufficient. Until and unless an objection to a notice of payment change is
                                     sustained, the trustee shall pay the amount demanded in the notice of payment change.

                        (2) If Debtor makes a partial plan payment that is insufficient to satisfy all post-petition monthly payments due each
                        Class 1 claim, distributions will be made in the order such claims are listed in the table below.

                        (3) Trustee will not make a partial distribution on account of a post-petition monthly payment.

                        (4) If Debtor makes a partial plan payment, or if it is not paid on time, and Trustee is unable to make timely a
                        post-petition monthly payment, Debtor may be obligated to pay a late charge.

                        (5) If the holder of a Class 1 claim files a notice of payment change in accordance with Fed.R.Bankr.P. 3002.1(b)
                        demanding a higher or lower post-petition monthly payment, the plan payment shall be adjusted accordingly,
                        without modification of the plan.

                        (6) If the holder of a Class 1 claim gives Debtor and Trustee notice of post-petition fees, expenses, and charges in
                        accordance with Fed. R. Bankr. P. 3002.1(c), Debtor may modify this plan if Debtor wishes to provide for such fees,
                        expenses, and charges.

                        (7) Post-petition monthly payments made by Trustee and received by the holder of a Class 1 claim shall be applied
                        as if the claim was current and no arrearage existed on the date the case was filed.

            (c) No claim modification and lien retention. Each Class 1 creditor shall retain its lien. Other than to cure arrears, this plan
            does not modify Class 1 claims.

            Class 1 Creditor's Name/                                Amount of    Interest       Monthly      Monthly Arrearage         Post-Petition
             Collateral Description                                  Arrears     Rate on       Arrearage      Dividend Start             Monthly
                                                                                 Arrears       Dividend       Date (Start Date           Payment
                                                                                                              will be a specific
                                                                                                             month/year during
                                                                                                                  the plan)



          None




                                                                                Totals:    $          0.00                         $                0.00

3.08.   Class 2 includes all secured claims that are modified by this plan, or that have matured or will mature before the plan
is completed.

            (a) Payment of claim. Subject to section 3.08(c), the “monthly dividend” payable to each Class 2A and 2B claim is a
            monthly payment sufficient to pay each claim in full with interest at the rate specified below. If no interest rate is specified, a
            5% rate will be imputed.

            (b) Adequate protection payments. Prior to confirmation and once a proof of claim is filed, Trustee shall pay on account of
            each Class 2(A) and 2(B) claim secured by a purchase money security interest in personal property an adequate protection
            payment if required by 11 U.S.C. § 1326(a)(1)(C). The adequate protection payment shall equal the monthly dividend.
            Adequate protection payments shall be disbursed by Trustee in connection with the customary disbursement cycle beginning
            the month after the case was filed. If a Class 2 claimant is paid an adequate protection payment, that claimant shall not be
            paid a monthly dividend for the same month.

            (c) Claim amount. The amount of a Class 2 claim is determined by applicable nonbankruptcy law. However, except as noted
            below, Debtor may reduce the claim amount to the value of the collateral securing it by complying with Section 1.03 above.

                        (1) Class 2 claims that cannot be reduced based on value of collateral. Debtor is prohibited from reducing a
                        claim if the claim holder has a purchase money security interest and the claim either was incurred within 910 days
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                        of the filing of the case and is secured by a motor vehicle acquired for the personal use of Debtor, or was incurred
                        within 1-year of the filing of the case and is secured by any other thing of value. These claims must be included in
                        Class 2(A).

                        (2) Class 2 claims that may be reduced based on the value of their collateral shall be included in Class 2(B) or
                        2(C) as is appropriate.

                        (3) Class 2 claims secured by Debtor’s principal residence. Except as permitted by 11 U.S.C. § 1322(c), Debtor
                        is prohibited from modifying the rights of a holder of a claim secured only by Debtor’s principal residence.

            (d) Lien retention. Each Class 2 creditor shall retain its existing lien on the property interest of the Debtor or the Estate until
            the earlier of: (a) payment of the underlying debt determined under nonbankruptcy law, or (b) completion of the plan and,
            unless not required by the bankruptcy court, entry of Debtor’s discharge under 11 U.S.C. § 1328.

 Class 2(A) Creditor's name and description of Purchase money                               Amount              Value of     Interest        Monthly
 collateral                                    security interest                           claimed by          creditor's      Rate          Dividend
                                                  in personal                                creditor        interest in its
                                                   property                                                    collateral
                                                   YES/NO
 Class 2(A) claims are not reduced based on
 value of collateral
          -NONE-

                                                                                                                                Total $                  0.00

 Class 2(B) Creditor's name and description of Purchase money                               Amount              Value of     Interest        Monthly
 collateral                                    security interest                           claimed by          creditor's      Rate          Dividend
                                                  in personal                                creditor        interest in its
                                                    property                                                   collateral
                                                   (YES/NO)
 Class 2(B) claims are reduced to an amount
 greater than $0 based on value of collateral
        -NONE-
                                                                                                                                Total $                  0.00

 Class 2(C) Creditor's name and description of Purchase money                               Amount              Value of     Interest        Monthly
 collateral                                    security interest                           claimed by          creditor's      Rate          Dividend
                                                  in personal                                creditor        interest in its
                                                    property                                                   collateral
                                                   (YES/NO)
 Class 2(C) claims are reduced to $0 based on
 value of collateral
           -NONE-

                                                                                                                                Total $                  0.00

3.09.       Class 3 includes all secured claims satisfied by the surrender of collateral.

        Class 3 Creditor's Name/Collateral Description                                Estimated Deficiency          Is Deficiency a Priority Claim?
                                                                                                                                YES/NO
           -NONE-


3.10.       Class 4 includes all secured claims paid directly by Debtor or third party. Class 4 claims are not in default and are not
            modified by this plan. These claims shall be paid by Debtor or a third person whether or not a proof of claim is filed or the
            plan is confirmed.

        Class 4 Creditor's Name/Collateral Description                          Monthly Contract Installment            Person Making Payment
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        Class 4 Creditor's Name/Collateral Description                          Monthly Contract Installment      Person Making Payment
 1.        Mountain West Financial/208 Apple Ave.                                                    $1,432.16 Debtor
           Greenfield, CA 93927


3.11.       Bankruptcy stays.

            (a) Upon confirmation of the plan, the automatic stay of 11 U.S.C. § 362(a) and the co-debtor stay of 11 U.S.C. § 1301(a) are
            (1) terminated to allow the holder of a Class 3 secured claim to exercise its rights under nonbankruptcy law against its
            collateral; and (2) modified to allow the nondebtor party to an unexpired lease that is in default and rejected in section 4 of
            this plan to obtain possession of leased property, and to dispose of it under applicable law, and to exercise its rights against
            any nondebtor.

            (b) Secured claims not listed as Class 1, 2, 3, or 4 claims are not provided for by this plan. While this may be cause to
            terminate the automatic stay, such relief must be separately requested by the claim holder.

            (c) If, after confirmation of the plan, the court grants a motion to terminate the automatic stay to permit a Class 1 or 2 claim
            holder to proceed against its collateral, unless the court orders otherwise, Trustee shall make no further payments on account
            of such claim and any portion of such claim not previously satisfied under this plan shall be satisfied as a Class 3 claim. Any
            deficiency remaining after the creditor’s disposition of its collateral shall be satisfied as a Class 7 unsecured claim subject to
            the filing of a proof of claim.

D. Unsecured Claims

3.12.       Class 5 consists of unsecured claims entitled to priority pursuant to 11 U.S.C. § 507.

            (a) Domestic support obligations entitled to priority pursuant to 11 U.S.C. § 507. These claims will be paid in full except
            to the extent the claim holder has agreed to accept less or 11 U.S.C. § 1322(a)(4) is applicable. When the claim holder has
            agreed to accept less than payment in full or when 11 U.S.C. § 1322(a)(4) is applicable, the claim holder and the treatment of
            the claim shall be specified in section 7, the Nonstandard Provisions.

            (b) Taxes, and other priority claims entitled to priority pursuant to 11 U.S.C. § 507. These claims will be paid in full
            except to the extent the claim holder has agreed to accept less. When the claim holder has agreed to accept less than payment
            in full, the claim holder and the treatment of the claim shall be specified in section 7, the Nonstandard Provisions.

            (c) Estimate of priority claims pursuant to 11 U.S.C. § 507. Debtor estimates that all priority claims, not including those
            identified in section 7, total $ 0.00

3.13.       Class 6 includes designated nonpriority unsecured claims, such as co-signed unsecured debts, that will be treated
            differently than the other nonpriority unsecured claims provided for in Class 7. The claim holder of each Class 6 claim and
            the treatment of each claim shall be specified in section 7, the Nonstandard Provisions.

3.14.       Class 7 consists of all other nonpriority unsecured claims not provided for in Class 6. These claims total approximately
            $ 63,101.00 . Class 7 creditors shall be paid on a pro-rata basis by the Trustee from the funds remaining after the Trustee
            pays the administrative expenses and other claims provided for in this plan.
            [select one of the following options:]

                Percent Plan. Class 7 claimants will receive no less than               100   % of their allowed claims through this plan.

                Pot Plan. Class 7 claimants are estimated to receive                  % of their allowed claims through this plan.

            This section is to be read in conjunction with section 2.03.

                                                     Section 4. Executory Contracts And Unexpired Leases

4.01.       Debtor assumes the executory contracts and unexpired leases listed below. Debtor shall directly pay all postpetition monthly
            lease or contract payments to the other party to the executory contract or unexpired lease. Unless otherwise permitted under
            the Bankruptcy Code or Section 7 herein, pre-petition arrears shall be fully paid. Trustee shall pay the monthly arrearage
            dividend specified in the table below.
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    Name of Other Party to Executory Contract/Unexpired Lease                           Post-Petition       Pre-petition          Monthly
                                                                                       Monthly Payment        Arrears            Arrearage
                                                                                                                                 Dividend
          -NONE-
                                                                                                                    Total $                    0.00

4.02.        Debtor rejects the executory contracts and unexpired leases listed below. Any executory contract or unexpired lease not
            listed in section 4.01 or section 4.02 is rejected.

   Name of Other Party to Executory Contract/Unexpired Lease                            Description of Executory Contract/Unexpired Lease
          -NONE-

                                                   Section 5. Payment of Claims and Order of Distribution

5.01.       After confirmation, payments by Trustee to holders of allowed claims and approved expenses will be made monthly.

5.02.       Distribution of plan payment by Trustee. Debtor’s monthly plan payment must be sufficient to pay in full: (a) Trustee’s
            fees; (b) post-petition monthly payments due on Class 1 claims; (c) the monthly dividend specified in section 3.06 for
            administrative expenses; and (d) the monthly dividends payable on account of Class 1 arrearage claims, Class 2 claims, and
            executory contract and unexpired lease arrearage claims.

            If Debtor tenders a partial monthly plan payment to Trustee, Trustee shall pay, to the extent possible, such fees, expenses,
            and claims in the order specified in (a) through (d) above. If the amount paid by Debtor, however, is insufficient to pay all
            dividends due on account of fees, payments, expenses, and claims within a subpart of section 5.02(a) through (d), no
            dividend shall be paid on account of any of the fees, payments, expenses, and claims within such subpart, except as permitted
            by section 3.07(b)(2) and (3).

            Once a monthly plan payment, or a portion thereof, is not needed to pay a monthly dividend because a fee, expense, or claim
            is not allowed or has been paid in full, such plan payment shall be paid pro rata, based on claim balance, to holders of: first,
            section 3.06 administrative expenses; second, Class 1 arrearage claims, Class 2 claims, and executory contract and unexpired
            lease arrearage claims; third, Class 5 priority claims; fourth, Class 6 unsecured claims; and fifth, Class 7 unsecured claims.
            Over the plan’s duration, these distributions must equal the total dividends required by sections 3.04, 3.06, 3.07, 3.08, 3.12,
            3.13, 3.14, and 4.01.

5.03.       Priority of payment among administrative expenses. The portion of the monthly plan payment allocated in section 3.06
            for administrative expenses, shall be distributed first to any former chapter 7 trustee up to the monthly amount required by 11
            U.S.C. § 1326(b)(3)(B), and second, to holders of approved administrative expenses on a pro rata basis.

                                                   Section 6. Miscellaneous Provisions
6.01.       Vesting of property. Property of the estate will revest in Debtor upon confirmation unless Debtor checks the following box:
              SHALL NOT REVEST.

            If the property of the estate does not revest in Debtor, Trustee is not required to file income tax returns for the estate or insure
            any estate property. Upon dismissal or completion of this plan, all property shall revest in Debtor. Notwithstanding the
            revesting of property in Debtor, the court will retain its supervisory role post-confirmation to enforce Fed. R. Bankr. P.
            3002.1 and provide any other relief necessary to effectuate this plan and the orderly administration of this case.

            After the property revests in Debtor, Debtor may sell, refinance or execute a loan modification regarding real or personal
            property without further order of the court with the approval of Trustee.

6.02.       Remedies upon default. If Debtor defaults under this plan, Trustee or any other party in interest may request appropriate
            relief by filing a motion pursuant to Local Bankruptcy Rule 9014-1, et seq. This relief may consist of, without limitation,
            dismissal of the case, conversion of the case to chapter 7, or relief from the automatic stay to pursue rights against collateral.
            This is without prejudice to Debtor’s right to seek plan modification under 11 U.S.C. § 1329.




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6.03.       Impermissible Provisions. Notwithstanding any other term in this plan, Debtor does not seek through the confirmation and
            completion of this plan either a determination of the dischargability of any debt or the discharge of any debt that is
            non-dischargable as a matter of law in a Chapter 13 case under 11 U.S.C. § 1328(a).

                                                                    Section 7. Nonstandard Provisions

Debtor may propose nonstandard provisions that modify the preprinted text of this form plan. All nonstandard plan provisions shall be
set forth below, or on a separate page(s) appended to this plan. Each such provision shall be identified by a section number beginning
with section 7.01 and indicate which section(s) of the form plan are modified by it. Nonstandard provisions placed elsewhere in the
plan are void. The signatures below are certifications by Debtor and Debtor’s attorney that this plan form has not been altered and that
all nonstandard provisions are in section 7 and appended to this plan.




 Dated:       September 26, 2018                                                      /s/ Salvador Navar
                                                                                      Salvador Navar
                                                                                      Debtor

 Dated:
                                                                                      Debtor

                                                                                      /s/ Jeremy F. Peck
                                                                                      Jeremy F. Peck 261241
                                                                                      Debtor's Attorney




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 In re   Salvador Navar                                                 Case No.   18-51745
                                                   Debtor(s)



                                            Chapter 13 Plan
                                              Attachment B

Non-Standard Provision:



Class 5 and Class 7 claimants will receive no less than 100% with annual interest at 2.42% of their
allowed claims through this plan.




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